Case 3:13-cv-00030-NKM-JCH Document 1 Filed 08/14/13 Page 1 of 16 Pageid#: 1



                    INTHEUNI
                           TEDSTATESDI IS
                                        cTROF
                                            ICTVI
                                                COUR
                                                 RGINI;EaxsoFpcEpsasjcotm
                   FORTHE WESTERN DISTR
                        CHARLOTTESVILLE DIVISIO N
                                                          vLokH jbiqv vljc
                                                               LD
                                                                     ApC 1i 2913
JOHN W ILLIAM GENTRYg
                                                                   JUL     .DUD EY CLERK
INDIVIDUA LLY A ND O N BEHA LF O F                                BY:
ALL OTHER VIRGINIA OW NERS                                               DEP
SIM ILARILY SITUATED
                                                         5'I3 CVOOC 3C
                                                          .

                   Plaintiff
                                                    CLASS ACTION
M.                                                   CO M PLAINT

HYUNDAIM OTO R A M ERICA,INC.

Please Serve:
Registered Agent:
NationalRegistered Agents,Inc.
4701 Cox Road,Suite 301
G len Allen,VA 23060

                   Defendant.


      Now before this Honorable Coud, comes John W illiam Gentry, through

undersigned counsel,and on behalfof him self as an individualand on behalf of aII

others similarly situated (i.e.the members ofthe PlaintiffClass described and defined
within the Complaint),hereinalleges asfollows:
                                          l

                         JURISDICTIO N A N D VEN UE



      This Coud has personaljurisdiction overthe Defendantbecause the Defendant
has transacted and continues to transact business in the Com monw eaIth of Virginia'
                                                                                   ,

because the Defendant has contracted to supply services or things in this

Com m onwealth'
              ,and because the Defendant has com m itted the acts and om issions
com plained ofherein in the Com monw eaIth ofVirginia.

2.    This Courthasjurisdiction ofthismatterpursuantto 28 U.S.C.51332 (d)asthis
Case 3:13-cv-00030-NKM-JCH Document 1 Filed 08/14/13 Page 2 of 16 Pageid#: 2



is a class action in which the matter in controversy exceeds the sum of$5,000,000,
exclusive ofinterestand costs and m em bers ofthe class ofplaintiffs are citizens ofa

State differentfrom the Defendant.

3.     This Coud has venue ofthis matterpursuantto 20 U.S.C.1391(b)(1)because a
substantialpartofthe events orom issions giving rise to the claim s occurred in Nelson

County,Virginia and a substantialpad ofthe propedythatisthe subjectofthe action is
Iocated in Nelson County,Virginia.



                                            11

                            G ENERA L A LLEG ATIO NS



4.     This is a civilaction asserting claim s underthe V irginia M otorVehicle W arranty

EnforcementAct,VA Code 559.1-207.9 :.1sen.,the Virginia ConsumerProtection Act
of 1977,and forviolation of VA.Code 518.2-216 prohibiting untrue,deceptive,or
m isleading advertisem ent, inducem ents, writings, or docum ents. The claim s are

broughtagainst DefendantHyundaiMotorAmerica, lnc.(hereinafterd'Defendant''or
''Hyundai')for its refusaland inability to conform its 2011-2013 Elantra Modelto the
applicable warranty as required by the Virginia Motor Vehicle W arranty Enforcement

Act;forwillfulm isrepresentations,deceptions,and false pretenses in connection with

consumertransactions in violation ofthe Virginia Consum erProtection Actof1977.
                                                                              ,and

in violation of VA. Code 518.2-216 prohibiting untrue, deceptive, and misleading
advertisem ents. Plaintil John W illiam G entry, for him self and for aII others sim ilarly

situated who purchased a 2011-2013 Elantra in Virginia, seeks a refund of the full

contract price, including aII collateral charges and incidental dam ages, plus treble

dam ages for willfulviolation of the Virginia Consumer Protection Act, plus statutory

                                       (2434 / 000J2
Case 3:13-cv-00030-NKM-JCH Document 1 Filed 08/14/13 Page 3 of 16 Pageid#: 3



dam ages forviolation ofVA.Code j 18.2-216,plus reasonabl
                                                        e attorney's fees,exped
witness fees,and coud costs.

5.     PlaintiffJohn W illiam Gentry is a resident of Afton in Nelson County,Virginia.

(Hereinafter'Gentry''or''Plaintiff'). Gentry is 46-years-old and is a 1990 graduate of
the University ofVirginia with a degree in Com puterScience and a 1993 graduate of

the University ofVirginia with a M aster's Degree in Managem ent Inform ation Systems.

Gentry has been m arried for 15 years. He is em ployed by Alere and its predecessors

forthe past15 years w here he serves as an inform ation technology engineer.

6.     Based on inform ation gathered from the Com m onwealth of Virginia State

Corporation Com m ission w ebsite, Defendant Hyundai M otor Am erica, Inc. is a

corporation which is incorporated in the state of California, with a principalplace of

business in the city ofCosta M esa,California.



                                            III

                            FA CTUA L A LLEGATIO NS



7.     PlaintiffGentry lives close to Interstate Highway 64 in Afton,Virginia.His place of

em ploym entis in Charlottesville,Virginia and is close to Interstate 64 and the Route

250 Bypass. Gentry travels 26 m iles each way to work and back,alm ostaIIofw hich is

highway driving. In the early partof2013 Gentry conducted research to find a personal

vehicle thatdelivered high m iles-per-gallon forhis highw ay driving. Gentry and his wife
already ow ned one Hyundaivehicle so he researched Hyundaivehicles w hich

purpodedly obtained high highway m ileage.Gentry had previously seen advedisem ents

touting the $.
             40 M PG''HyundaiElantra vehicles and found num erous advedisem ents

asserting thatthe 2013 HyundaiElantra obtained highway m ileage of1138 M PG '.

                                       (2434 / 00013
Case 3:13-cv-00030-NKM-JCH Document 1 Filed 08/14/13 Page 4 of 16 Pageid#: 4



Gentry recalled the num erous advedisem ents thatthe 2011-2012 HyundaiElantra
obtained $1
          40 M PG''on the highway. A representative sam ple ofthe HyundaiElantra

advedisem ents,aIIbelieved to have been dissem inated in Virginia,is found in the DVD-

R attached hereto as ExhibitO ne.None ofthese advedisements com ply with,norare

they sanctioned by,the FederalIaws and regulations regarding the form and contentof

m ileage disclosures.As a factualdescription ofthe goods,these advedisements

constitute pad ofthe basis ofthe bargain and is therefore an express warranty.See,

Dauqhtrev k:Ashe,243 VA.73,413 S.E.2d 336,(1992).Martin B.American Medical
Svstems.lnc.,116 F.3d 102 (4thcir.1997).
8.     Based on the Hyundaiadvedisem ents and m any same orsim ilaraffirm ations of

facts made by salesm en ofthe Hyundai-authorized agents and dealership regarding the

highway m ileage,on February 18,2013,Gentry purchased a 2013 Elantra Coupe,

Vehicle ldentification Num berKM HDH6AE9DUQ05103 from a Hyundai-authorized

agentand dealership in Staunton,Virginia know n as 'dW rightW ay Hyundai'. The total

delivered price was $18,970.09.The vehicle had 41 m iles on itw hen purchased.
9.     Upon receiving the vehicle,Gentry began Iogging and calculating the m iles per

gallon he obtained on his highway drive to and from work.Afterdriving the vehicle for

1,156 m iles,G entry determ ined he was only getting around 30 m iles pergallon on the

highw ay and notthe 38 M PG advedised.O n its bestday,the vehicle reached 33 M PG

on the highway on rare occasions.This performance in the Sllow 30's''was m aterially

differentthan the 1138 and 40 M PG''advedised. Gentry returned the vehicle to the

Hyundai-authorized dealership forevaluation,w hich drove the vehicle forone m ile,and

told G entry he needed to drive itm ore as the vehicle was stillin the '
                                                                       ùbreak-in period'
                                                                                       '.

The Hyundai-authorized dealership confirm ed to Gentry he should get38 M PG on the

highway afterthe ''break-in period''.


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Case 3:13-cv-00030-NKM-JCH Document 1 Filed 08/14/13 Page 5 of 16 Pageid#: 5



10.   Afterdriving the vehicle an additional1,132 m iles,Gentry returned the vehicle to

the Hyundai-authorized dealership on April23,2013.Gentry reported his vehicle was

'stillonly getting 30-33 M PG ''on the highway.Atno tim e did any Hyundai-authorized

dealership em ployee tellGentry he should notexpect38 M PG on the highway. To the

contrary,every em ployee atthe Hyundai-authorized dealership w ho spoke orw rote to

Gentry confirm ed thatthe vehicle should get38 M PG on the highway. The staffand

owner,M ark W right,ofthe Hyundai-authorized dealership drove the vehicle 196 m iles

on the highway and m easured the actualm ileage at32.47 m iles-per-gallon.The ow ner

ofthe Hyundai-authorized dealership observed atthis tim e thatthe onboard trip

com puterwas calculating a higherm iles-per-gallon figure than the actualm iles driven

divided by the actualgallons burned. The Hyundai-authorized dealership conducted

m ore extensive testing including testing ofthe gasoline and could notlocate any

m echanicalproblem to explain the low highw ay m ileage.The Hyundai-authorized

dealership contacted Hyundaiand reported the problem and the Iack ofan explanation.

Hyundairesponded by stating itwould send a Division Service and Parts M anagerand

a Field Service Engineerto inspectand testGentry's vehicle. Atno tim e did the

Hyundaidealership ownerorstaffstate thatgetting 30-33 M PG on the highway was

acceptable.

11.   O n June 18,2013 Hyundaiem ployees M aureen Dowd and ArthurAnderson

came to the Hyundai-authorized dealership in Staunton,Virginia to inspectand test

Gentry's vehicle forhis stated com plaintthatthe S'vehicle does notgetthe M PG thatit

should.Only gets 30-33 M PG.''Atno time did the Hyundaiem ployees state thatthe

com plaintofS'only gets 30-33 M PG''was nota breach ofthe warranties applicable to the

vehicle.To the contrary,alIm echanicalevaluation and work forthe stated com plaintof

Iow m ileage w as perform ed underand paid by the w arranty atHyundai's expense.
Case 3:13-cv-00030-NKM-JCH Document 1 Filed 08/14/13 Page 6 of 16 Pageid#: 6



Dowd and Anderson purportedly m ade two test-drives to calculate the highway m iles-

per-gallon.Dowd and Anderson alleged thatthe firsttestdrive yielded a highway m iles-

per-gallon of$662.1890547 M PG ',while atthe same tim e the on-board trip com puter

''averaged 37-40 M PG '. The second testdrive purported to yield a highway m iles-per-

gallon of$'42.904290429'
                       'M PG w hile the on-board l'trip com puterranged from 38-44

M PG''

12.    O n the same day thatHyundaiem ployees Dowd and A nderson allegedly

obtained '$62.1890547''and $.42.904290429''m iles-per-gallon on the highw ay,M ark

W right,the ow nerofthe Hyundai-authorized dealership 'lW rightW ay Hyundai',and an

agentofHyundai,telephoned PlaintiffGentry to inform him ofthe ldfindings'
                                                                        'ofthe

Hyundaiem ployees.ln a tape-recorded conversation M r.W rightinform ed Gentry ofthe

highway m ileage purpodedly obtained by Dowd and Anderson,and then stated f'/fee

gotthatkind ofm ileage nobody would be complainingn.M r.W rightw enton to state

that,in regard to the two purpoded highway m ileage calculations allegedly reached by

Hyundaiemployees Dowd and A nderson:çsYea,Idon'tgetany ofthat...ldon'tknow

how they got62...1don'tbuy it.''M r.W righttold Gentry thathe questioned Dowd and

Anderson aboutthe discrepancy between the highway m ileage they allegedly obtained

and the highway mileage calculated by Gentry and M r.W right''Theirresponse is thatif

you don'tIike the results then you can follow through with consum eraffairs orLem on

Law.And thatsucks.Iam justbaffled.''Mr.W righttold Gentry t
                                                          dTheirresponse is '
                                                                            rour
job >asfo identify so ee can getthe kind ofgasmileage thatee estimate on ourthings
and we did.That's it.Open and shut.Ifyou don'tIike it,tough.Cargets whatitis

supposed to get.''''M r.W rightinform ed Dowd and Anderson thatboth he and Gentry

obtained m uch Iess m ileage than Dow d and Anderson claimed they obtained. M r.

W righttold Gentry thatDowd and Anderson's response was 'çThey claim it'
                                                                       s my driving
Case 3:13-cv-00030-NKM-JCH Document 1 Filed 08/14/13 Page 7 of 16 Pageid#: 7



and yourdriving.''Mr.W right's reaction to this was $'You know,Ihave neverfeltm ore

stupid in my Iife abouta carthan Ido with this whole situation.I'm a pretty intelligent

guy and I've neverbeen m ade to feelany m ore stupid.It's nota com plicated thing.''M r.

W rightoffered to replace Gentry's Elantra with anotherElantra,butadm itted itwould

notdo any good,because he tested the otherElantra's he had and they also did not

obtain the highway m ileage claimed by Hyundai.

13.    PlaintiffGentry,faced w i
                               th a carmanufacturerwhich claimed his vehicle

obtained .
         '62.1890547',m iles-per-gallon on the highw ay w hen his ow n tests and the

tests perform ed by the ow nerofthe Hyundai-authorized dealership showed the actual

m ileage w as halfthat,undedook a search forIegalrepresentation. ln doing so,Gentry

Iearned forthe firsttime ofthe details ofa California class-action case thatDefendant

Hyundaihad adm itted in Novem ber2012 thatithad subm itted false and incorrect

m ileage calculations to the EnvironmentalProtection Agency forthe 2011-2013 Elantra,

and forseveralothervehicles as well.Gentry Iearned there are pending class action

suits againstHyundaiforfalse advedising regarding m ileage and forfalse subm ission

ofm ileage data to the EPA .Gentry contacted the legalrepresentatives ofthe class to

inquire aboutpadicipation and being included in these,only to Iearn the class actions

filed do notinclude Elantra's sold in 2013,and thatnone ofthe class actions seekto

afford consumers the remedies found in the Virginia Lemon Law ,the Virginia Consum er

Protection Act,orthe Virginia statute prohibiting untrue,deceptive,orm isleading

advedisement,inducem ents,writings,ordocum ents,aIlofw hich generally allow

V irginia consum ers superior rem edies com pared to sim ilarstate and federalconsum er

protection statutes.




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Case 3:13-cv-00030-NKM-JCH Document 1 Filed 08/14/13 Page 8 of 16 Pageid#: 8




                                    CO UNT O NE

                       LEM O N LAW -THE VIRG INIA
           M O TO R V EHICLE W A RRANTY ENFO RC EM ENT A CT
                             VA.CODE j 59.1-207.9

14.   The allegations ofparagraph 1-13 are expressly incorporated and re-pled herein

en toto.

15.   The proposed Class forthe Virginia Lem on Law claim consists ofaIIpersons

w ho purchased a 2011-2013 HyundaiElantra in Virginia.

16.   The Virginia M otorVehicle W arranty Enforcem entActprovides thata

m anufacturerofm otorvehicles m ustconform a new m otorvehicle to any applicable

warranty by repairing orcorrecting any defectorcondition w hich im pairs the use,

marketvalue,orsafety ofthe vehicle,or(1)replace the motorvehicle with a
comparable motorvehicle acceptableto the consumer,or(2)acceptreturn ofthe motor
vehicle and refund to the consumerthe fullcontractprice,including aIIcollateral

charges and incidentaldam ages,plus attorney's fees,expertw i
                                                            tness fees,and coud

costs. Underthe Virginia Lem on Law ,the term ldwarranty''m eans any im plied warranty

orany written warranty ofthe m anufacturer,orany affirmations offactorprom ise m ade

by the m anufacturerin connection w ith the sale orIease ofa m otorvehicle that

becomes partofthe basis ofthe bargain.Hyundairepeatedly m ade affirm ations offact

regarding the highway m ileage in connection w ith the sale ofthe Elantra. Forexam ple,

on April18,2012 Hyundaipublished on its website the follow ing statem ents:
Case 3:13-cv-00030-NKM-JCH Document 1 Filed 08/14/13 Page 9 of 16 Pageid#: 9



              ftIW th its 29 mpg city and 40 m pg highway standard fuel
             economy rating,Elantra is a perfectvehicle forconsum ers
             Iooking foran affordable solution to rising gas prices,'said
             ScottM argagen,directo6 ProductPlanning,HyundaiM otor
             Am erica.'Elantra is one ofthe vehicles atthe core of

             Hyundai'  s fueleconomy strategy.In the firstquarterof2012,
             39 percentofaIIHyundaivehicles sold achieved 40 m pg on
             the highway thanks in Iarge parlto Elantra's continued
             success.'''See,Hyundainews 04/18/12 at
             https..
                   //hvundaiusa.com/about-
             hvundal  /news/corporate 2012 Elantra X 88 Green-z
                                                        -




       The 2013 Elantra's Owner's Handbook and W arranty Inform ation specifically

states'
      .
              'The 5* #eneration Elantra was redesigned in 20ï1 and
             deliversdesign,safetyland up to 40 MPG Highwaf .

18.   These affirm ations offact,and the otherrepresentative exam ples ofthe

affirm ations offactregarding highway m ileage found in ExhibitO ne,as wellas other

sim ilaradvedisem ents and statem ents,do notcom ply w ith the FederalIaws controlling

advertising ofm otorvehicle mileage.Sqe,16 CFR 259 #.!seq. The numerous

affirm ations offactmade by Hyundai,i
                                    ts agents,and authorized dealers regarding the

highw ay m ileage allegedly obtained by the Elantra are a pad ofthe contractbetween

Hyundaiand m em bers ofthe Class,and constitute express warranties underVirginia

Law.See,Dauqhtrev7.Ashe,243VA.73,413 S.E.2d 336 (1992).See,Martin v.
American MedicalSvstems.Inc.,116 F.3d 102 (4thcir.1997).
19.   Hyundaicannotconform its vehicle to the m ileage warranty i
                                                                tm ade in
connection with the sale ofthe 2011-2013 Elantra's.This failure to conform the vehicle

to the applicable warranties significantly im pairs the use,m arketvalue,and safety of

the m otorvehicles requiring a repurchase or''buy-back'
                                                      'ofthe vehicles pursuantto Iaw .


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Case 3:13-cv-00030-NKM-JCH Document 1 Filed 08/14/13 Page 10 of 16 Pageid#: 10



 20.    Hyundaiwarranted thatthe on-board m icrocom puterwould deliveran ldaccurate''

 calculation ofthe m iles pergallon the vehicle obtains.See,Owner's M anualpage

 4:49.The on-board m icrocom puterdoes notaccurately calculate ordisplay the actual

 m iles-per-gallon obtained by the vehicle.The on-board m icrocom puterdisplays a higher

 m iles-per-gallon figure than the vehicle actually achieves.Hyundairefuses to conform

 the on-board m icrocom puterto display the accurate m iles-per-gallon the vehicles
 actually obtain.This non-conform ity to the applicable warranty im pairsthe use,m arket

 value and safety ofthe motorvehicles,thereby requiring the repurchase orS'buy-back''

 ofthe vehicles pursuantto Iaw.

 21. W HEREFORE the Plaintift on behalfofhimselfand aIIotherssimilarly situated,
 movesthe Coud forjudgmentagainstHyundaiawardinga repurchase ordlbuy back'
 remedy consisting ofa refund to the Plaintiffand aIIothers sim ilarly si
                                                                        tuated,ofthe full

 contractprice,incidentaldam ages,attorney fees,exped witness fees,and courtcosts.



                                     CO U NT TW O

          THE VIRG INIA CO NSUM ER PRO TECTIO N A CT O F 1977



22,    The allegations ofparagraphs 1through 21 above are expressly incorporated

and re-pled herein.

23.    The proposed Class forthe Virginia Consum erProtection Actclaim consists of

aIIpersons who purchased a 2011-2013 HyundaiElantra in Virginia.

24.    The Virginia Consum erProtection Actwas enacted as rem edialIegislation to

prom ote fairand ethicalstandards ofdealings between suppliers and the consum ing

public.See,VA.code j 59.1-197.The DefendantHyundaiisa ''supplier'engaging in
consumertransactions w ith the Plainti
                                     ffGentry,and every otherperson in the Class

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Case 3:13-cv-00030-NKM-JCH Document 1 Filed 08/14/13 Page 11 of 16 Pageid#: 11



 who boughta 2011-2013 HyundaiElantra in the Com m onweaI
                                                        th ofVirginia.The

Virginia ConsumerProtection Actof1977 prohibi
                                            ts Hyundaifrom m isrepresenting that

 goods have cedain characteristics,uses,benefits,orquali
                                                       ties.See,VA.Code j 59.1-
 200(A)(5)and (6).The Virginia ConsumerProtectionActof1977 prohibi
                                                                 tsthe
 advedising ofgoods with intentnotto sellthem as advedised,orw ith the intentnotto

sellthem uponthetermsadvedised.VA.Code j 59.1-200(8).Inanyaction brought
 underthis subsection the refusalofany supplierto sellgoods upon the terms

advedised S'shallbe Drim a facie evidence ofa violation ofthis subdivision.''$.
                                                                          .   .The
Virginia Consum erProtection Actof1977 prohibits Hyundaifrom ldusing any other

deception,fraud,false pretense,false prom ise,orm isrepresentation in connection w ith

a consumertransaction.''VA.Code j 59.1-200 (14).
25.    The DefendantHyundaihas violated the Virginia ConsumerProtection Actin

numerous ways,including:

       A.    Hyundaim isrepresented thatthe 2011-2013 Elantra obtained 38 or40

highway m iles-per-gallon when itknew itwould notachieve this m ileage;

       B.    Hyundaihas refused to sellany 2011-2013 Elantra's to the Plaintifforany

othermem berofthe Class which actually gets 38 or40 highway m iles-per-gallon,

therebyestablishing prima facieevidence ofa violation ofVa.Code j 59.1-200 (A)(8).
             Hyundaihas represented thatits on-board m icrocom puterwillprovide an

''
 accurate''m easure ofthe m iles pergallon obtained by the vehicle,w hen Hyundai

knows this equipm entwillnotaccurately measure the m iles pergallon obtained.This is

Drima facie evidence ofa violation ofVA.Code j 59.1-200 (A)(8).
       D.The DefendantHyundaisold the 2011-2013 HyundaiElantra with specific

EnvironmentalProtection Agency m ileage estim ates which were based on false and

incorrectdata Hyundaiprovided tothe EPA.Assuch Hyundaiviolated VA.Code j

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Case 3:13-cv-00030-NKM-JCH Document 1 Filed 08/14/13 Page 12 of 16 Pageid#: 12



 54.1-200(A)(2)(5)(6)(8)and (14).
        E.    The HyundaiOfficialW ebsite advedises the 2013 Elantra at$$38 M PG

 HW Y'
     'in dark Ietters on a w hite background.See,Screen shots atthe end ofExhibit

 One. W hen Iooking atthe website on a com puterscreen itdoes notappearthatthere

 are any footnotes in connection w ith the advedised .$38 M PG HW Y'
                                                                   '. W hen the sam e

 page ofthe website is printed,the printed copy reveals a footnote $$3''to the upperright

 ofthe 'd38''.In spite ofa thorough search ofthe website,the footnote d$3''cannotbe

 Iocated.O n inform ation and belieffootnote 1.3''is som e disclaim erorexplanation ofthe

 advertised $138 M PG H> '.Hyundai's intentionalplacem entoffootnote $'3''in w hite on

 awhi
    te background so itcannotbe seenwhen Iooking atthe screen,(butitcan be
 seenwhen itis printed),coupled with the difficult,ifnotimpossible,to Iocate textof
footnote .13'
            ',constitutes the use of''deception...false pretense,false prom ise,or

 misrepresentation inconnectionwith a consumertransaction''in violation ofVA.Code j
 59.1-200 (A)(14).
       F.     The alleged inspection and testing ofGentry's vehicle perform ed on June

 18,2013 atwhich Hyundaiem ployees claim ed thatGentry's vehicle obtained

.162.1890547''m iles-per-gallon on the highway and 1142.904290429''m iIes-per-gaIIon on

the highway constituted the use of''deception...false pretense,false prom ise and/or

m isrepresentation in connection with a consum ertransaction.'' Gentry's own

m eticulous calculations ofthe m ileage obtained in highway driving shows the

allegations ofthe Hyundaiem ployees are false. The carefulhighway m ileage

calculations m ade by Hyundai's agentand authorized dealer,M r.W right,show s the

allegations ofHyundai's em ployees are false.The inaccurate allegations ofHyundai's

em ployees,coupled w ith theirstatem ents thatchallenge the consum erto sue them if

they do notagree,dem onstrate a schem e to falsel
                                                y podray the Elantra as actually


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Case 3:13-cv-00030-NKM-JCH Document 1 Filed 08/14/13 Page 13 of 16 Pageid#: 13



 obtaining the highway m ileage as advertised,and then daring any individualconsum er
to incurthe costand risk necessary to challenge Hyundaiin coud,aIIin violation ofthe

Virginia Consum erProtection Act.

26.    The Virginia Consum erProtection Actprovides thatifthe trieroffactfinds that

any violation ofthe Actwas willfulitm ay increase dam ages to an am ountnotexceeding

three timesthe actualdamagessustained or$1,000,whicheveris greater.VA.Code
j59.1-2O4(A). The Plaintiffallegesthateach and everyviolation ofthe Virginia
Consum erProtection Actwas will
                              fully executed by Hyundaiforthe obvious purpose of

taking advantage ofVirginian's desire to save m oney by using Iess gasoline and to

protectthe environm entby the release ofIess carbon dioxide pollution into the

atm osphere.Know ing thatVirginians would respond posi
                                                     ti
                                                      vely to spending Iess m oney

forfueland causing Iess dam age to the environm ent,Hyundaiwillfully violated the

Virginia Consum erProtection Actin each way described above,and in otherways as

discovery reveals,in a 'successful''and highly-profitable effod to increase the sales of

its m otorvehicles. Hyundaihad previously conducted and subm itted EpA-m andated

data on m any,m any occasions priorto subm itting incorrectdata to the EPA forthe

2011-2013 Elantra. Hyundaiknew the correctprocedures to follow and the correct

m ethod to subm itaccurate data. In spite ofthis Hyundaihas adm itted itsubm itted

incorrectdata to the EPA on these vehicles thereby m aking the EpA-estimated highway

m ileage m ore attractive than itwould be otherwise,thereby selling more cars.Hyundai

also knew thatan EpA-m andated m ileage estim ate was notan actualmeasurementof

m iles-per-gallon and thatthe Elantra w ould notactuall
                                                      y obtain 38 or40 M PG on the

highway.In spite ofthis actualknow ledge Hyundaistillm ade affirm ations offactthat

the Elantra achieved 38 or40 M PG on the highway w hen itknew these vehicles would

notdo so.DefendantHyundaiprogram m ed and installed the on-board m icrocomputer


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Case 3:13-cv-00030-NKM-JCH Document 1 Filed 08/14/13 Page 14 of 16 Pageid#: 14



 to show thatthe vehicle is getting higherm ileage than actually obtained,Iulling the

 Plaintiffand others sim ilarly situated into believing they were actually obtaining the

 highway m ileage Hyundaiadvedised thatthe vehicle would achieve.Afterperpetrating

this scheme Hyundaiwillfullyviolated theVirginia ConsumerProtectionActby conjuring
 and fabricating highway m ileage 'results''and then daring the individualconsum ersuch

 as Gentrytotake Iegalactionagainstit,atwhich pointHyundaiwould use its$84 billion
 in annualrevenue to overwhelm any individualIi
                                              tigantin coud.The Plaintiffon behalfof

 him selfand the Class seeks three tim es the actualdam ages,a sum which is

established foreach consum erand m em berofthe Class by the Virginia Lem on Law as

the refund ofthe fullpurchase price,incidentaldamages,exped witness fees and costs.

 Only in this way willthe clearl
                               y expressed public policy ofVirginia be fulfilled.Only in

this way willthe DefendantHyundaibe disgorged ofits m any m illions ofdollars in iII-

gotten gains and punished forits conduct. Only in this way willothermotorvehicle

m anufacturers Iearn thatviolations ofthe Virginia ConsumerProtection Actin regard to

gas m ileage and environmentalprotection w illbe dealtwith as prescribed by Iaw ,

thereby deterring any tem ptation by others to engage in the same orsim ilarconduct.

27.    The Plaintiffon behalfofhim selfand the Class,m oves the Coud fora

permanentinjunction restricting the DefendantHyundaifrom violating the Consumer
Protection Actand to restrain from any ofthe m isconductdescribed herein specifically

restraining Hyundaifrom engaging in any false orm isleading advedising related to the

m ileage ofits vehicles.




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Case 3:13-cv-00030-NKM-JCH Document 1 Filed 08/14/13 Page 15 of 16 Pageid#: 15




                                   CO UNT THREE

             VIOLATION OF VA.CODE j18.2-216 PROHIBITING
         UNTRUE,DEC EPTIVE,O R M ISLEA DING A DVERTISING ,
             INDUC EM ENTS,W RITING S O R DO C UM ENTS


28.   The allegations ofparagraphs 1through 27 are expressly incorporated and re-

pled herein en toto.

29. The proposed Classforviolations ofVA.Code j 18.2-216 consists ofaIlpersons
w ho purchased a 2011-2013 HyundaiElantra in Virginia.

30. VA.Code 518.2-216 broadly prohibits untrue,deceptive,ormisleading
advedisem ents to the public w ith the intentto increase the public's consum ption of

anything offeredforsale by the advediser.VA.Code 559.1-68.36 providesthatany
personwho suffersIoss as the resultofaviolationof518.2-216 shallbe entitled to
bring an individualactionto recoverdamages,or$100,whicheveris greater.The
actionsofHyundaipreviously described herein are violationsofVA.Code 518.2-216
and the Plaintiffseeks dam ages foreach and every violation and attorney fees as a

resultthereofas provided byVA.Code 559.1-68.3.


      W HEREFORE,the PlaintiffGentrymovesthe Coud forjudgmentagainst
DefendantHyundaiand in favorofeach mem berofthe Class forthe fullpurchase price

ofthe vehicle,including aIIcollateralcharges and incidentaldam ages,as provided by

the Virginia M otorVehicle W arranty Enforcem entAct,treble damages as provided by

the Virginia ConsumerProtectionAct,injunctive reliefrestricting DefendantHyundai
from engaging in m isconductdescribed herein,statutory dam ages as provided by

Virginia Code 559.1-68.3,plus reasonable attorney'sfeesinthe amountof$350 per

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Case 3:13-cv-00030-NKM-JCH Document 1 Filed 08/14/13 Page 16 of 16 Pageid#: 16



 hour,orone-third ofany am ountrecovered,w hicheveris greater?plus expertwitness

 fees,and coud costsaIIprovided by Iaw.Trialbyjury is requested.




                                             Respectfully subm itted,

                                             John W illiam Gentry
                                                         -   r-A



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